                                                           1   AARON HANCOCK (SBN 160937)
                                                               BISHOP | BARRY
                                                           2   A Professional Law Corporation
                                                               6001 Shellmound Street, Suite 875
                                                           3   Emeryville, California 94608

                                                           4   Telephone:       (510) 596-0888
                                                               Facsimile:       (510) 596-0899
                                                           5   E-mail:          ahancock@bishop-barry.com

                                                           6   Special counsel for Chapter 11 Trustee
                                                               Randy Sugarman
                                                           7

                                                           8                             UNITED STATES BANKRUPTCY COURT

                                                           9                             NORTHERN DISTRICT OF CALIFORNIA

                                                          10
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                                                          11   IN RE YELLOW CAB COOPERATIVE,                        Case no. 16-30063 DM
                                                               INC., aka ALL TAXI ELECTRONICS,
         6001 S HELLMOUND S TREET , S UITE 875




                                                          12                                                        Chapter 11 / Hearing requested
              E MERYVILLE , C ALIFORNIA 94608




                                                                      Debtor.
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                                                          13                                                        FINAL APPLICATION BY AARON
                                                                                                                    HANCOCK FOR PAYMENT AS AN
                                                          14                                                        EXPENSE OF ADMINISTRATION;
                                                                                                                    DECLARATIONS IN SUPPORT
                                                          15
                                                                                                                    Date: August 31, 2018
                                                          16                                                        Time: 9:30 a.m.
                                                                                                                    Courtroom: 17 San Francisco (Montali)
                                                          17

                                                          18

                                                          19          Comes now Aaron Hancock of Bishop | Barry and applies to the United States Bankruptcy
                                                          20   Court, pursuant to 11 U.S.C. Section 503(b)(4), for an order approving on a final basis: (1) the
                                                          21   interim payment of $11,180.00 in fees and costs awarded per the court’s order of January 19, 2018
                                                          22   and (2) the $29,235.33 in fees and costs sought with this application.
                                                          23

                                                          24   1      INTRODUCTION.
                                                          25          The Applicant is Aaron Hancock of Bishop | Barry, a professional law corporation. On
                                                          26   October 20, 2017, the United States Bankruptcy Court approved, nunc pro tunc, applicant’s
                                                          27   employment as special counsel for Trustee Randy Sugarman. The application for compensation is
                                                          28   the second filed by the Applicant.       With this application, the Applicant seeks payment of


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                                                                                797 ADMINISTRATION;
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                                                           1   $29,235.33 consisting of $26,390.00 in attorneys’ fees for services rendered and $2,845.33 in costs

                                                           2   incurred between November 1, 2017 and June 30, 2018.

                                                           3          Applicant has not received any compensation from the bankruptcy estate or from any other

                                                           4   source for services rendered or costs advanced in this bankruptcy case.

                                                           5

                                                           6   2      REQUEST FOR COMPENSATION.
                                                           7          As detailed on the invoices submitted as Exhibit “B” to the declaration of Aaron Hancock,

                                                           8   the Applicant has spent 81.2 total hours of time during the application period performing services

                                                           9   on behalf of the Trustee. The time spent by the Applicant was necessary and reasonable to
                                                          10   accomplish the tasks provided to the applicant by the Trustee.
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                                                          11          No agreement has been made by the Applicant and/or his law firm and no understanding
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                                                          12   exists with respect to a division of fees with any third person or persons. The only agreement the
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                                                          13   Applicant has entered into with respect to fees or compensation to be paid has been with the
                                                          14   Trustee. That agreement duly was submitted to the court with the Trustee’s original application for
                                                          15   appointment of the Applicant as special counsel.
                                                          16

                                                          17   3      DESCRIPTION OF SERVICES.
                                                          18          Ongoing services provided by the Applicant fall into the following general categories:

                                                          19          •Insuring that notices of automatic stay are filed in Superior Court actions against Yellow

                                                          20   Cab Cooperative, Inc. and that no state court proceedings to perfect judgments against Yellow Cab

                                                          21   Cooperative are ongoing for accidents occurring on dates when Yellow Cab Cooperative, Inc. did

                                                          22   not carry traditional insurance.

                                                          23          •Communicating and coordinating with insurance defense counsel in claims arising out of

                                                          24   accidents occurring on dates when Yellow Cab Cooperative, Inc. did hold traditional insurance and

                                                          25   making sure the defense counsel have taken appropriate steps to insulate Yellow Cab Cooperative,

                                                          26   Inc. when those claims potentially exceed the available insured policy limit.

                                                          27   //

                                                          28   //


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                                                           1          •Communicating and coordinating with counsel for tort claimants against the bankruptcy

                                                           2   estate to confirm submission of proofs of claim within extension periods negotiated by the Trustee.

                                                           3          •Solicitation of demands from counsel for tort claimants against the bankruptcy estate.

                                                           4          •Analysis of demands from tort claimants against the bankruptcy estate, including review

                                                           5   and analysis of healthcare records and employment records provided by claimants.

                                                           6          •Directly advising the Trustee as to the value of tort claims via written and oral

                                                           7   communications.

                                                           8          •Directly participating in the Trustee’s negotiations with tort claimants when negotiations

                                                           9   involve complex medical issues outside the Trustee’s specific field of expertise.
                                                          10          •Obtaining reimbursement of a cash deposit filed with the San Francisco Superior Court in
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                                                          11   lieu of an undertaking upon appeal of an underlying Superior Court judgment.
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                                                          12          •Advising the directors of Yellow Cab Cooperative, Inc. of efforts by tort claimants to
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                                                          13   pierce the corporate veil against them.
                                                          14          Consistent with the foregoing, billings have been submitted to the Trustee under the
                                                          15   following headings with the following activity reflected in the invoices submitted as Exhibit “B:”
                                                          16          Yellow Cab Cooperative General Matters, file 363-11576, $11,082.50/34.1 hours: The
                                                          17   Applicant prepared the initial fee application and provided general advice to both the Trustee and
                                                          18   the debtor on a number of subjects including, but not limited to, steps necessary to divert state
                                                          19   court litigation into the United States Bankruptcy Court and proper methods of securing dismissal

                                                          20   of pending Superior Court litigation.
                                                          21          Sam Glasman v Yellow Cab Cooperative, file 363-11576, $162.50/0.5 hours:                  The
                                                          22   Applicant secured and processed a dismissal of a cross-action commenced by Yellow Cab
                                                          23   Cooperative, Inc. in Superior Court.
                                                          24          Catherine Kinney v Yellow Cab Cooperative, Inc., file 363-11603, $1,365.00/4.2 hours:
                                                          25   The Applicant interfaced with the Trustee, the plaintiff, and a third party subrogation lien claimant

                                                          26   with respect to the impact of the bankruptcy on a pending ERISA lien.

                                                          27   //

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                                                           1          Lorenzo Parada v Yellow Cab Cooperative, Inc., file 363-11617, $1,495.00/4.6 hours: The

                                                           2   Applicant reviewed and analyzed demand materials from plaintiff and assisted the Trustee in

                                                           3   negotiating a $500,000.00 demand down to an $18,000.00 resolution.

                                                           4          Forrest Allen v Yellow Cab Cooperative, Inc., file 363-11617, $2,047.50/6.3 hours: The

                                                           5   Applicant interfaced with the Trustee and two plaintiffs with respect to the impact of their failure to

                                                           6   file a proof of claim in the face of insistence by plaintiffs that the matter could be litigated in

                                                           7   Superior Court.

                                                           8          Peter Hom v Pandad Abhikari, file 363-11630, $1,690.00/5.2 hours:               The Applicant

                                                           9   pursued demand materials on behalf of the Trustee and interfaced with both the Trustee and
                                                          10   plaintiff with respect to the procedure for filing a proof of claim. The Applicant reviewed and
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                                                          11   analyzed demand materials from plaintiff and assisted the Trustee in negotiating a $150,000.00
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                                                          12   demand down to a $35,000.00 resolution.
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                                                          13          Sufyan Alsharif v Yellow Cab Cooperative, Inc., file 363-11654, $780.00/2.4 hours: The
                                                          14   Applicant pursued demand materials on behalf of the Trustee and interfaced with both the Trustee
                                                          15   and plaintiff with respect to the procedure for filing a proof of claim.
                                                          16          Fares Abdulrab v Wilson Villett, file 363-11675, $1,040.00/3.2 hours: The Applicant
                                                          17   pursued demand materials on behalf of the Trustee and interfaced with both the Trustee and the
                                                          18   plaintiff with respect to the procedure for filing a proof of claim. The Applicant reviewed and
                                                          19   analyzed demand materials from plaintiff and assisted the Trustee in negotiating a gross a

                                                          20   $138,437.14 demand down to a $30,000.00 resolution.
                                                          21          Valentin Isaev v Yellow Cab Cooperative, Inc., file 363-11678, $1,105.00/3.4 hours: The
                                                          22   Applicant pursued demand materials on behalf of the Trustee and interfaced with both the Trustee
                                                          23   and the self-represented plaintiff with respect to the procedure for filing a proof of claim. The
                                                          24   Applicant reviewed and analyzed demand materials from a self-represented plaintiff and assisted
                                                          25   the Trustee in negotiating a $299,000.00 demand.

                                                          26          Patrick Reyes v Yellow Cab Cooperative, Inc., file 363-11679, $1,137.50/3.5 hours: The

                                                          27   Applicant pursued demand materials on behalf of the Trustee and interfaced with both the Trustee

                                                          28   and the self-represented plaintiff with respect to the procedure for filing a proof of claim. The


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                                                           1   Applicant reviewed and analyzed demand materials from two plaintiffs and assisted the Trustee in

                                                           2   negotiating a $46,111.00 gross demand down to a $33,500.00 gross resolution.

                                                           3             Fabio Rezende v Mohamed Ghathi, file no. 363-11697, $3,770/11.6 hours: The applicant

                                                           4   prepare and argued a motion seeking return from the San Francisco Superior Court of a cash

                                                           5   deposit in the amount of $322,569.00 filed with the clerk in lieu of an undertaking on appeal.

                                                           6             Ralph Olivero v Yellow Cab Cooperative, Inc., file no. 363-11744, $715.00/2.2 hours: The

                                                           7   applicant corresponded with former directors of Yellow Cab Cooperative, Inc. to advise that

                                                           8   plaintiff, who obtained a judgment in Superior Court prior to bankruptcy, was pursuing a motion to

                                                           9   add the directors as additional judgment debtors and that the Trustee was not positioned to resist
                                                          10   these efforts.
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                                                          12             WHEREFORE, applicant requests that he be allowed, as an expense of administration
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                                                          13   pursuant to 11 U.S.C. Section 503(b)(4), total compensation of $29,235.33 consisting of
                                                          14   $26,390.00 in attorneys’ fees for services rendered and $2,845.33 for costs incurred between
                                                          15   November 1, 2017 and June 30, 2018 and that the allowed amount be paid through the bankruptcy
                                                          16   estate.
                                                          17
                                                               DATED: July 25, 2018                             BISHOP | BARRY
                                                          18

                                                          19
                                                                                                                /S/ Aaron Hancock
                                                          20                                                    AARON HANCOCK
                                                                                                                Special counsel for Chapter 11 Trustee Randy
                                                          21                                                    Sugarman
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                                                           1                              DECLARATION OF AARON HANCOCK
                                                           2          1.      I am an attorney at law, duly licensed to practice in California and before the United

                                                           3   States District Court for the Northern District of California. As such, I am an employee of Bishop |

                                                           4   Barry, a law firm located in Emeryville, California. This declaration is submitted pursuant to

                                                           5   guideline no. 8 of the Guidelines for Compensation and Expense Reimbursement of Professionals

                                                           6   and Trustees issued by the United States Bankruptcy Court for the Northern District of California

                                                           7   (“Guidelines”).

                                                           8          2.      I was appointed on October 19, 2017 as special counsel for Trustee Randy

                                                           9   Sugarman at a billable rate of $325.00 per hour. As set forth in my application for appointment, I
                                                          10   was retained to advise the Trustee as to the value of tort claims asserted the bankrupt debtor,
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                                                          11   Yellow Cab Cooperative, Inc. and otherwise advise the Trustee and the debtor with respect to
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                                                          12   ongoing issues pertinent to Superior Court litigation against the debtor and the processing of tort
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                                                          13   claims. There has been one previous request for compensation, which was approved by the United
                                                          14   States Bankruptcy Court in its entirety.
                                                          15          3.      I am seeking reimbursement of $29,235.33 from the bankruptcy estate of Yellow Cab
                                                          16   Cooperative, Inc. as a special expense of administration pursuant to 11 U.S.C. Section 503.

                                                          17   Submitted contemporaneously with this declaration at Exhibit “A” is a ledger AR fee and cost

                                                          18   breakdown which recapitulates billing statements submitted to the Trustee for services rendered

                                                          19   between November 1, 2017 and June 30, 2018. Copies of the statements themselves are submitted

                                                          20   collectively as Exhibit “B.” There is one “general matters” file, which captures miscellaneous
                                                          21   activity. Otherwise, I created a separate file for each claim. The files are named in accordance
                                                          22   with the corresponding San Francisco Superior Court lawsuit. Where the first named defendant in
                                                          23   the lawsuit is not Yellow Cab Cooperative, Inc., the first named defendant is a former driver for
                                                          24   Yellow Cab Cooperative, Inc. and Yellow Cab Cooperative, Inc. is a subsequently named
                                                          25   defendant. Expenses for postage are billed at actual cost and copies are billed at $0.10 per page.

                                                          26   //

                                                          27   //

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                                                           1          4.      I have read the application and the accompanying exhibits. To the best of my

                                                           2   knowledge, information and belief, formed after reasonable inquiry, the compensation and expense

                                                           3   reimbursement sought is in conformity with the Guidelines, and the compensation and expense

                                                           4   reimbursement requested are billed at rates, in accordance with practices, no less favorable than

                                                           5   those customarily employed by my office and generally accepted by my clients.

                                                           6          5.      The statements presented with Exhibit “B” all describe work performed in a task-

                                                           7   based format with a minimum billing increment of one tenth of an hour. Each of the statements

                                                           8   has been submitted to the Trustee for review and audit, and the Trustee has not objected to any of

                                                           9   the items on any of the statements. Submitted at Exhibit “C” is correspondence of July 24, 2018 to
                                                          10   the Trustee advising the Trustee of his review and objection rights. The correspondence was
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                                                          11   transmitted to the Trustee via e-mail on July 24, 2018.
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                                                          12          6.      My work on behalf of the Trustee is described in the payment application above,
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                                                          13   which is incorporated by reference as though it were part of this declaration. All of the work I have
                                                          14   performed has been reasonably necessary as an expense of administration and meets the criteria for
                                                          15   reimbursement at 11 U.S.C. Section 503(b)(4).
                                                          16          I declare under penalty of perjury under the laws of the State of California that the
                                                          17   foregoing is true and correct. Executed this twenty fourth day of July 2018, in Emeryville,
                                                          18   California.
                                                          19

                                                          20
                                                                                                                /S/ Aaron Hancock
                                                          21                                                    AARON HANCOCK

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                                                           1                 TRUSTEE’S STATEMENT RE: REVIEW OF FEE APPLICATION
                                                           2                                    (U.S. Trustee Guidelines, ¶ 2.2.2)
                                                           3          I, Randy Sugarman, hereby certify that I am the duly appointed trustee in the above

                                                           4   captioned matter and that I have read the foregoing Chapter 11 fee application of Aaron Hancock,

                                                           5   special counsel for me in the foregoing bankruptcy case.        I have no objections to that fee

                                                           6   application or the fees and costs requested therein.

                                                           7          I declare under penalty of perjury under the laws of the State of California that the

                                                           8   foregoing is true and correct. Executed this twenty fourth day of June 2018, in San Francisco,

                                                           9   California.

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                                                                                                                 /S/ Randy Sugarman
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                                                          12                                                     RANDY SUGARMAN
              E MERYVILLE , C ALIFORNIA 94608
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